Fill in this information to identify the case:

Debtor name __________________________________________________________________
             Aspen Lakes Golf Course, L.L.C.

United States Bankruptcy Court for the: ________________________________________
                                        District of Oregon

Case number (If known):    18-32265
                          _________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    4/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
            may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                           
                                                                                               ✘   Operating a business
                                                                                                                                            678,365.00
           fiscal year to filing date:           1/1/2018
                                           From ___________         to     Filing date            Other _______________________    $________________
                                                  MM / DD / YYYY


           For prior year:
                                                   7/16/2018
                                           From ___________         to
                                                                            12/31/2017
                                                                           ___________         
                                                                                               ✘   Operating a business                   1,590,422.00
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________

           For the year before that:
                                                   1/1/2016
                                           From ___________         to
                                                                            12/31/2016
                                                                           ___________         
                                                                                               ✘   Operating a business                   2,033,228.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                          $________________
                                                                                                  Other _______________________




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✘   None

                                                                                              Description of sources of revenue    Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the
                                                                                              ___________________________          $________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


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Debtor            Aspen Lakes Golf Course, L.L.C.
                 _______________________________________________________                                               18-32265
                                                                                                Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
    adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     
     ✘      None

             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

             __________________________________________       __________      $_________________
                                                                                                                 Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                              __________                                         Suppliers or vendors

                                                                                                                 Services
                                                              __________                                         Other _______________________________


     3.2.

             __________________________________________       __________      $_________________                 Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                              __________                                         Suppliers or vendors

                                                                                                                 Services
                                                              __________                                         Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                        Dates          Total amount or value         Reasons for payment or transfer
     4.1.
             "See Attached" - Payments to Insiders                                         97.00
             __________________________________________      ___________     $__________________
             Insider’s name

                                                             ___________

                                                             ___________




             Relationship to debtor
             __________________________________________


     4.2.

             __________________________________________      ___________     $__________________
             Insider’s name

                                                             ___________

                                                             ___________




             Relationship to debtor

             __________________________________________



                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


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                                                                                                     Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     
     ✘      None
            Creditor’s name and address                         Description of the property                                 Date              Value of property
     5.1.

            __________________________________________                                                                      ______________     $_________________
            Creditor’s name




     5.2.

            __________________________________________                                                                      _______________    $_________________
            Creditor’s name




 6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     
     ✘      None
             Creditor’s name and address                           Description of the action creditor took                  Date action was      Amount
                                                                                                                            taken

             __________________________________________                                                                    _______________    $_________________
             Creditor’s name




                                                                 Last 4 digits of account number: XXXX– __ __ __ __


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                                Nature of case                          Court or agency’s name and address               Status of case
              GT Capital, LLC vs Wildhorse Meadows,    Property - Foreclosure                  Deschutes County Circuit Court
     7.1.
             _________________________________
              LLC, Aspen Lakes Golf Course, L.L.C.,    ______________________________         __________________________________________       
                                                                                                                                               ✘   Pending
                                                                                              Name
              Aspen Investments, L.L.C., Aspen Lakes
              Utility Company, L.L.C., Sisters                                                1100 NW Bond Street
                                                                                                                                                  On appeal
              Aggregate
             Case        & Construction, L.L.C.
                     number                                                                   Bend, OR 97703                                      Concluded

             18CV13848
             _________________________________



             Case title                                                                        Court or agency’s name and address
                                                                                                                                                  Pending
     7.2.
             _________________________________         ______________________________         __________________________________________          On appeal
                                                                                              Name

             Case number
                                                                                                                                                  Concluded



             _________________________________



                                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


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                   Aspen Lakes Golf Course, L.L.C.                                                                           18-32265
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     
     ✘      None
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $______________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     
     ✘      None
             Recipient’s name and address                        Description of the gifts or contributions                     Dates given           Value


            ____________________________________________                                                                       _________________   $______________
     9.1.
            Recipient’s name

                                                                 _______________________________________________




             Recipient’s relationship to debtor

            ____________________________________________


            ____________________________________________                                                                       _________________   $_____________
     9.2. Recipient’s name

                                                                 _______________________________________________




             Recipient’s relationship to debtor
            ____________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     
     ✘      None
             Description of the property lost and how the loss   Amount of payments received for the loss                      Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                              lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                   _________________   $_____________
             ___________________________________________


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Debtor
                 Aspen Lakes Golf Course, L.L.C.
               _______________________________________________________
                                                                                                                     18-32265
                                                                                                  Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

         None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates               Total amount or
                                                                                                                                             value

           Perkins Coie LLP
          _____________________________________________
   11.1                                                                                                                 5/29/2018                   20,000.00
                                                                                                                        ________________    $______________
            Address
                                                              ________________________________________________
           1120 N.W. Couch Street
           10th Floor
           Portland, OR 97209-4128




            Email or website address
           DPahl@perkinscoie.com
          _____________________________________________

            Who made the payment, if not debtor?


          _____________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates               Total amount or
                                                                                                                                             value

           207 Question 11 Continuation
   11.2   ______________________________________________                                                                                        23,000.00
                                                                                                                         ________________ $_____________
            Address
                                                              ________________________________________________




            Email or website address

          _____________________________________________

            Who made the payment, if not debtor?

          _____________________________________________


 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✘    None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


          _____________________________________________                                                                   ______________    $______________

            Trustee                                          _________________________________________________

          _____________________________________________




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Debtor
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               _______________________________________________________
                                                                                                                      18-32265
                                                                                                 Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✘     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________    $______________

                                                               ___________________________________________
            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?
                                                                                                                          ________________    $_____________

   13.2.    __________________________________________         ___________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

     
     ✘     Does not apply
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




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Debtor
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                 _______________________________________________________
                                                                                                                          18-32265
                                                                                                    Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✘     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                         Nature of the business operation, including type of services the            If debtor provides meals
                                                              debtor provides                                                             and housing, number of
                                                                                                                                          patients in debtor’s care

   15.1.   ____________________________________________                                                                                   ____________________
            Facility name
                                                             ____________________________________________________________

                                                              Location where patient records are maintained (if different from facility   How are records kept?
                                                              address). If electronic, identify any service provider.

                                                                                                                                          Check all that apply:

                                                               ____________________________________________________________
                                                                                                                                             Electronically
                                                                                                                                             Paper

            Facility name and address                         Nature of the business operation, including type of services the            If debtor provides meals
                                                              debtor provides                                                             and housing, number of
                                                                                                                                          patients in debtor’s care

   15.2.   ____________________________________________                                                                                   ____________________
            Facility name
                                                             ___________________________________________________________

                                                              Location where patient records are maintained (if different from facility   How are records kept?
                                                              address). If electronic, identify any service provider.

                                                                                                                                          Check all that apply:

                                                               ____________________________________________________________
                                                                                                                                             Electronically
                                                                                                                                             Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✘     No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
    pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✘     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                         Name of plan                                                                           Employer identification number of the plan

                                                                                                                EIN: ___ ___ ___ ___ ___ ___ ___ ___ ___ ___
                         _______________________________________________________________________
                        Has the plan been terminated?
                          No
                           Yes



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Debtor
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                   _______________________________________________________
                                                                                                                       18-32265
                                                                                                  Case number (if known)_____________________________________
                   Name




 Part 10:          Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✘     None
             Financial institution name and address         Last 4 digits of account       Type of account             Date account was        Last balance
                                                            number                                                     closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1    ______________________________________ XXXX–___ ___ ___ ___                      Checking                 ___________________     $____________
             Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2 ___________________________________________         XXXX–___ ___ ___ ___            Checking                 ___________________ $____________
        Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✘     None

                 Depository institution name and address    Names of anyone with access to it           Description of the contents                  Does debtor
                                                                                                                                                     still have it?

          __________________________________________                                                                                                    No
          Name                                                                                                                                          Yes

                                                           ____________________________________ _______________________________________

                                                             Address



                                                                                               ___
                                                           ______________________________________

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

          None

                 Facility name and address                  Names of anyone with access to it         Description of the contents                    Does debtor
                                                                                                                                                     still have it?

           KC Ranch
                                                            Owners and staff responsible for           Golf course maintenance equipment.              No
           _________________________________________
           Name
                                                            maintaining equipment                                                                     
                                                                                                                                                      ✘ Yes

                                                           ____________________________________ ______________________________________

                                                             Address
                                                           17204 Hwy 126, Sisters, OR 97759

                                                           _____________________________________



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                 _______________________________________________________                                              18-32265
                                                                                               Case number (if known)_____________________________________
                 Name




 Part 11:         Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✘     None

            Owner’s name and address                       Location of the property                 Description of the property                     Value

                                                                                                                                                  $______________
          __________________________________________
          Name


                                                        __________________________________         _______________________________________




 Part 12:         Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✘     No
          Yes. Provide details below.
            Case title                               Court or agency name and address               Nature of the case                        Status of case

           _____________________________________                                                                                                   Pending
                                                    ______________________________________
            Case number                              Name                                                                                          On appeal

          _____________________________________                                                                                                    Concluded
                                                                                                   ____________________________________




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✘     No
          Yes. Provide details below.

            Site name and address                    Governmental unit name and address             Environmental law, if known              Date of notice


         ________________________________________ _______________________________________                                                    __________
                                                                                                                                                    _________
         Name                                       Name


                                                                                                  _____________________________________




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Debtor            Aspen Lakes Golf Course, L.L.C.
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                                                                                             Case number (if known)_____________________________________
                  Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✘     No
          Yes. Provide details below.

            Site name and address                     Governmental unit name and address          Environmental law, if known                Date of notice


         ________________________________________ ________________________________________                                                     __________
           Name                                      Name


                                                                                                 ____________________________________




 Part 13:           Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✘     None


             Business name and address                Describe the nature of the business                  Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ___ ___ ___ ___ ___ ___ ___ ___ ___ ___
   25.1    _______________________________________
             Name                                                                                          Dates business existed

                                                     ________________________________________________
                                                                                                           From __________          To __________




             Business name and address                Describe the nature of the business                  Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.2
           ______________________________________                                                          EIN: ___ ___ ___ ___ ___ ___ ___ ___ ___ ___
           Name
                                                                                                           Dates business existed

                                                     _______________________________________________
                                                                                                           From __________          To __________




             Business name and address                Describe the nature of the business                  Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3    _______________________________________                                                         EIN: ___ ___ ___ ___ ___ ___ ___ ___ ___ ___
           Name
                                                                                                           Dates business existed

                                                     _______________________________________________

                                                                                                           From __________          To __________




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                  _______________________________________________________                                              18-32265
                                                                                                Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List   all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
                 Name and address                                                                            Dates of service


   26a.1
             "See Attached"
             __________________________________________________________________________________              From __________       To __________
                 Name




                 Name and address                                                                            Dates of service


   26a.2         __________________________________________________________________________________          From __________       To __________
                 Name




     26b   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
           statement within 2 years before filing this case.
            
            ✘     None

                    Name and address                                                                         Dates of service


         26b.1    ______________________________________________________________________________             From __________       To __________
                    Name




                    Name and address                                                                         Dates of service


         26b.2    __________________________________________________________________________________         From __________       To __________
                    Name




     26c List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            
            ✘     None
                                                                                                             If any books of account and records are
                    Name and address
                                                                                                             unavailable, explain why


         26c.1    ________________________________________________________________________________
                    Name


                                                                                                             _________________________________________




                                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


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Debtor
                 Aspen Lakes Golf Course, L.L.C.
                 _______________________________________________________
                                                                                                                    18-32265
                                                                                               Case number (if known)_____________________________________
                 Name




                                                                                                             If any books of account and records are
                    Name and address
                                                                                                             unavailable, explain why


           26c.2 __________________________________________________________________________________
                    Name


                                                                                                             _________________________________________




     26d List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
         within 2 years before filing this case.

             
             ✘   None

                    Name and address


           26d.1 __________________________________________________________________________________
                    Name




                    Name and address


           26d.2 __________________________________________________________________________________
                    Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✘      No
           Yes. Give the details about the two most recent inventories.



              Name of the person who supervised the taking of the inventory                    Date of        The dollar amount and basis (cost, market, or
                                                                                               inventory      other basis) of each inventory


            _________________________________________________________________________          ___________ $________________            ______________


              Name and address of the person who has possession of inventory records


   27.1.    __________________________________________________________________________
             Name




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               Aspen Lakes Golf Course, L.L.C.
               _______________________________________________________
                                                                                                                      18-32265
                                                                                               Case number (if known)_____________________________________
               Name




            Name of the person who supervised the taking of the inventory                     Date of           The dollar amount and basis (cost, market, or
                                                                                              inventory         other basis) of each inventory

          _________________________________________________________________________           ___________ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


            Name and address of the person who has possession of inventory records


   27.2   _________________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

     Name                                                     Address                                                       Position                    % of interest,
                                                                                                                                       if any
____________________________________________
Keith Cyrus                                   17204 Hwy 126, Sisters, OR 97759
                                             __________________________________________________________ Member                      40.00
                                                                                                        __________________________ ____________

Matt Cyrus
____________________________________________  16925 Green Drake Court, Sisters, OR 97759
                                             __________________________________________________________ President                   40.00
                                                                                                        __________________________ ____________

Pamela Mitchell
____________________________________________  69339 Hinkle Butte, Sisters, OR
                                             __________________________________________________________ Director of Marketing
                                                                                                        __________________________  20.00
                                                                                                                                   ____________

____________________________________________ __________________________________________________________ __________________________ ____________

____________________________________________        _________________________________________________________ __________________________ ____________

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
     
     ✘   No
         Yes. Identify below.
                                                                                                                                               Period during which
     Name                                           Address                                                         Position
                                                                                                                                                position was held
                                                                                                                                                 From         To
____________________________________________ ____________________________________________________ _________________________ ____________________
____________________________________________ ____________________________________________________ _________________________ ____________________
____________________________________________ ____________________________________________________ _________________________ ____________________
____________________________________________ ____________________________________________________ _________________________ ____________________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
         No
     
     ✘    Yes. Identify below.

            Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                     description and value of                                providing the value
                                                                                     property

         "See Attached" - Payments to Insiders
   30.1 _________________________________________________________________                                    0.00
                                                                                     ____________________________         _____________
           Name


                                                                                                                          _____________      __________________


                                                                                                                          _____________


            Relationship to debtor                                                                                        _____________

          __________________________________________________________________                                              _____________



                                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy


                                         Case 18-32265-tmb11                   Doc 66        Filed 07/25/18
Debtor              Aspen Lakes Golf Course, L.L.C.                                                  Case number           18-32265
                    Name




              Name and address of recipient                                               Amount of money or                  Dates                  Reason for
                                                                                          descr¡ption and value of                                   providing the value
                                                                                          property

      30.2
               Name




               Relationship to debtor




31.   Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
       Eruo
       E Yes. ldentify below.
               Nams of the parent   corporatio"                                                                                        number of the parent
                                                                                                            "=ïflo,åi,:'Í"n,'O"ut¡on
                                                                                                           EIN:



32.   Within 6 years before filíng this case, has the debtor as an employer been responsible for contributing to a pension fund?
      E t¡o
       E     Yes. ldentify below.


               Name of the pension fund                                                                     Employer ldentif¡cation number of the pens¡on fund
                                                                                                           EIN:




Pa¡t 14:.             $lgnature and Declaration


             WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. SS 152, 1341, 1519, and 3571.


             I have examined the information in this Statement of F¡nancial Affairs and any attachments and have a reasonable belief that
             the information is true and correct.
             I declare under penalty of perjury that the foregoing is true and correct.
             Executed      on0712512018
                                MM / DD /YYYY


        ,c                                                                                Printed name Matt cYrus
                           of                on behalf of the debtor


             Posit¡on or relationsh¡p to debtor
                                                  Managing Member




       Are additional pages to Statement of Fínancial Affairs for Non-lndividuals Filing for Bankruptcy (Official Form 207) attached?
        ENo
        E     Yes



                                                    Statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy




                                              Case 18-32265-tmb11                   Doc 66          Filed 07/25/18
       Aspen Lakes Golf Course, L.L.C.
Debtor _________________________________________                                                  18-32265
                                                                          Case number (if known) ______________________
           Name
                                                   Form 207 - Statement of Financial Affairs
                                                    11. Payments Related to Bankruptcy


                                                                Continuation Sheet

                                                                                                                Total Amount
 Who Was Paid or Who Received the Transfer
                                                                                                                      or
  Include Email or Website and Who Made the
                                                                                                       Date        Value
           Payment if Not the Debtor              If not money, describe any property transferred
Sussman Shank, LLP
                                                                                                    3/8/2018        3,000.00
1000 SW Broadway #1400
Portland, OR 97205



https://www.sussmanshank.com/



The Mountain Group, LLC
                                                                                                    6/12/2018      20,000.00
PO Box 453
Camp Sherman, OR 97730



https://www.mtngroup.net/




                                          Form 207 Question 11 Continuation Sheet

                                      Case 18-32265-tmb11              Doc 66        Filed 07/25/18
SOFA Q.4 PAYMENTS TO INSIDERS
                                                                                                                   Total
                                                                                                                                                                              Relationship
           Insider Name                            Insider Address                   Date1       Date2   Date3   Amount or        Reasons for payment or transfer                            Actions
                                                                                                                                                                               to Debtor
                                                                                                                   value

Wild Horse Meadows                 16900 Aspen Lakes Dr, Sisters OR 97759            7/17/2017                     10,000.00   Rent                                       Affiliate
Wild Horse Meadows                 16900 Aspen Lakes Dr, Sisters OR 97759            7/31/2017                     10,000.00   Rent                                       Affiliate
Wild Horse Meadows                 16900 Aspen Lakes Dr, Sisters OR 97759             6/7/2018                          0.00   Rent                                       Affiliate
Wild Horse Meadows                 16900 Aspen Lakes Dr, Sisters OR 97759             6/7/2018                          0.00   Rent                                       Affiliate
Wild Horse Meadows                 16900 Aspen Lakes Dr, Sisters OR 97759            6/25/2018                      1,000.00   Rent                                       Affiliate
Wild Horse Meadows                 16900 Aspen Lakes Dr, Sisters OR 97759            6/25/2018                        319.18   Rent                                       Affiliate
Wild Horse Meadows                 16900 Aspen Lakes Dr, Sisters OR 97759            6/25/2018                          0.00   Rent                                       Affiliate
KC Ranch, LLC                      17204 Highway 126, Sisters, OR 97759              7/18/2017                      2,000.00   Rent of Maint. Shed                        Affiliate
KC Ranch, LLC                      17204 Highway 126, Sisters, OR 97759              8/18/2017                      4,000.00   Rent of Maint. Shed                        Affiliate
KC Ranch, LLC                      17204 Highway 126, Sisters, OR 97759               9/7/2017                      2,000.00   Rent of Maint. Shed                        Affiliate
KC Ranch, LLC                      17204 Highway 126, Sisters, OR 97759              9/29/2017                      2,000.00   Rent of Maint. Shed                        Affiliate
KC Ranch, LLC                      17204 Highway 126, Sisters, OR 97759              12/7/2017                      2,000.00   Rent of Maint. Shed                        Affiliate
KC Ranch, LLC                      17204 Highway 126, Sisters, OR 97759               1/5/2018                      2,000.00   Rent of Maint. Shed                        Affiliate
KC Ranch, LLC                      17204 Highway 126, Sisters, OR 97759               2/5/2018                      2,000.00   Rent of Maint. Shed                        Affiliate
KC Ranch, LLC                      17204 Highway 126, Sisters, OR 97759               3/4/2018                      2,000.00   Rent of Maint. Shed                        Affiliate
KC Ranch, LLC                      17204 Highway 126, Sisters, OR 97759              3/13/2018                      2,000.00   Rent of Maint. Shed                        Affiliate
KC Ranch, LLC                      17204 Highway 126, Sisters, OR 97759              4/23/2018                      2,000.00   Rent of Maint. Shed                        Affiliate
KC Ranch, LLC                      17204 Highway 126, Sisters, OR 97759               5/3/2018                      2,000.00   Rent of Maint. Shed                        Affiliate
KC Ranch, LLC                      17204 Highway 126, Sisters, OR 97759              5/22/2018                      3,460.00   Rent of Maint. Shed                        Affiliate
KC Ranch, LLC                      17204 Highway 126, Sisters, OR 97759               6/3/2018                      2,000.00   Rent of Maint. Shed                        Affiliate
KC Ranch, LLC                      17204 Highway 126, Sisters, OR 97759              6/25/2018                      2,000.00   Rent of Maint. Shed                        Affiliate
KC Ranch, LLC                      17204 Highway 126, Sisters, OR 97759              7/19/2017                        300.00   Rent of Maint. Shed                        Affiliate
Aspen Lakes Utility                16900 Aspen Lakes Dr, Sisters OR 97759           06/18/2018                      7,000.00   Payment for Utilities                      Affiliate
Sisters Aggregate & Construction   17204 Highway 126, Sisters, OR 97759              8/25/2017                      3,000.00   Delivery of soil for golf course maint.    Affiliate
Sisters Aggregate & Construction   17204 Highway 126, Sisters, OR 97759              3/13/2018                          0.00   Delivery of soil for golf course maint.    Affiliate
Sisters Aggregate & Construction   17204 Highway 126, Sisters, OR 97759               6/8/2018                      1,600.00   Delivery of soil for golf course maint.    Affiliate
Matthew Cyrus Reinbursment         16925 Green Drake Court, Sisters, OR 97759        6/13/2018                       2971.76   Delivery of soil for golf course maint.    Managing Member
Kelly Cyrus                        16925 Green Drake Court, Sisters, OR 97759        8/18/2017                      2,500.00   Payroll (6/28/17 - 6/27/18)                Bookkeeper
Kelly Cyrus                        16925 Green Drake Court, Sisters, OR 97759        2/14/2018                      2,200.00   Payroll (6/28/17 - 6/27/18)                Bookkeeper
Kelly Cyrus                        16925 Green Drake Court, Sisters, OR 97759        2/16/2018                      1,000.00   Payroll (6/28/17 - 6/27/18)                Bookkeeper
Kelly Cyrus                        16925 Green Drake Court, Sisters, OR 97759        2/23/2018                      2,000.00   Payroll (6/28/17 - 6/27/18)                Bookkeeper
Kelly Cyrus                        16925 Green Drake Court, Sisters, OR 97759        4/16/2018                      1,000.00   Payroll (6/28/17 - 6/27/18)                Bookkeeper
Kelly Cyrus                        16925 Green Drake Court, Sisters, OR 97759        4/24/2018                      1,020.04   Payroll (6/28/17 - 6/27/18)                Bookkeeper
Kelly Cyrus                        16925 Green Drake Court, Sisters, OR 97759         5/3/2018                        558.28   Payroll (6/28/17 - 6/27/18)                Bookkeeper
Kelly Cyrus                        16925 Green Drake Court, Sisters, OR 97759         6/6/2018                      1,425.26   Payroll (6/28/17 - 6/27/18)                Bookkeeper
Kelly Cyrus                        16925 Green Drake Court, Sisters, OR 97759        6/22/2018                        258.97   Payroll (6/28/17 - 6/27/18)                Bookkeeper
                                                                                                                               Reimb Matt & Kelly for business exp paid
Triple C Farms                     16925 Green Drake Court, Sisters, OR 97759        8/22/2017                      2,000.00   for personally                             Affiliate
                                                                                                                               Reimb Matt & Kelly for business exp paid
Triple C Farms                     16925 Green Drake Court, Sisters, OR 97759         9/6/2017                      5,000.00   for personally                             Affiliate
                                                                                                                               Reimb Matt & Kelly for business exp paid
Triple C Farms                     16925 Green Drake Court, Sisters, OR 97759        9/12/2017                      5,000.00   for personally                             Affiliate
                                                                                                                               Reimb Matt & Kelly for business exp paid
Triple C Farms                     16925 Green Drake Court, Sisters, OR 97759         4/2/2018                       847.40    for personally                             Affiliate
                                                                                                                               Reimb Matt & Kelly for business exp paid
Triple C Farms                     16925 Green Drake Court, Sisters, OR 97759         4/8/2018                      1,531.98   for personally                             Affiliate
                                                                                                                               Reimb Matt & Kelly for business exp paid
Triple C Farms                     16925 Green Drake Court, Sisters, OR 97759         6/6/2018                      1,248.00   for personally                             Affiliate
Pamela Mitchell Reimbursment       69339 Hinkle Butte, Sisters, OR 97759              7/6/2017                      1,147.76   Payroll (6/28/17 - 6/27/18)                Member
Pamela Mitchell Reimbursment       69339 Hinkle Butte, Sisters, OR 97759              6/6/2018                      1,518.55   Payroll (6/28/17 - 6/27/18)                Member

                                                                       Case 18-32265-tmb11                 Doc 66       Filed 07/25/18
                                      Sofa -   Question: 4 - Payments to Insiders
SOFA Q26A - Aspen Lake Golf Course Bookeepers

Mandy L Smith
1921 E 50th Court
Terre Haute, IN 47802
05-16-16 through 09-28-16

Patricia K Olson
8327 SW Shad Road
Terrebonne, OR 97760
9-22-16 through 5-04-17

Julianne M Thibodeau
915 SW Rimrock Way
Suite 201-168
Redmond OR 97756
05-18-17 through 07-27-17

SB Accounting Solutions
Patricia K Olson
8327 SW Shad Road
Terrebonne, OR 97759
08-10-17 through 04-20-18

Vicky Kumle
62936 Florence Dr
Bend, OR 97701
05-18-18 through 06-25-18

Kelly Cyrus
16925 Green Drake Ct.
Sisters, OR 97759
1997 through current




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                          Sofa -   Question: 26A -
SOFA Q.30 PAYMENTS TO INSIDERS
                                                                                                                    Total
                                                                                                                                                                               Relationship
           Insider Name                            Insider Address                    Date1       Date2   Date3   Amount or        Reasons for payment or transfer                            Actions
                                                                                                                                                                                to Debtor
                                                                                                                    value

Wild Horse Meadows                 16900 Aspen Lakes Dr, Sisters OR 97759             7/17/2017                     10,000.00   Rent                                       Affiliate
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Kelly Cyrus                        16925 Green Drake Court, Sisters, OR 97759          5/3/2018                        558.28   Payroll (6/28/17 - 6/27/18)                Bookkeeper
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                                                                                                                                Reimb Matt & Kelly for business exp paid
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                                                                                                                                Reimb Matt & Kelly for business exp paid
Triple C Farms                     16925 Green Drake Court, Sisters, OR 97759         9/12/2017                      5,000.00   for personally                             Affiliate
                                                                                                                                Reimb Matt & Kelly for business exp paid
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                                                                                                                                Reimb Matt & Kelly for business exp paid
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                                                                                                                                Reimb Matt & Kelly for business exp paid
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                                      Sofa -   Question: 30 - Payments to Insiders
